Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     92-7 Filed 08/30/22
                                                01/26/23 Page 1 of 24 PageID #: 700
                                                                                1160




                            EXHIBIT 5
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 2
                                                              1 of 24
                                                                   23 PageID #: 701
                                                                                541
                                                                                1161




                                Exhibit
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 3
                                                              2 of 24
                                                                   23 PageID #: 702
                                                                                542
                                                                                1162


       From:                 Allison Khaskelis
       To:                   "Amir Rosenshine"
       Cc:                   Oren Rosenshine; Yisrael Hiller
       Subject:              RE: Rosenshine v A. Meshi Cosmetics Industries, Ltd., et al. No. 18-cv-3572
       Date:                 Thursday, 24 March 2022 16:14:00
       Attachments:          220324 First Request for Document Production to Plaintiffs.pdf


       Amir, Oren,

       It is unfortunate that you have now reneged on the commitment you expressly made on March
       8, 2022 to produce certain documents. We consider that a sign of bad faith. As such, please find
       attached our client’s first request for the production of documents in accordance with the
       Federal Rules.

       With regard to your below requests, we understand from your below email that you have no
       intention to serve appropriate requests, as required by the Federal Rules. Consequently, we will
       respond to your below requests in full compliance with the deadlines set out by the Federal
       Rules.

       Thanks,
       Allison

       Allison Khaskelis
       Attorney (Admitted in New York, New Jersey and Pennsylvania)




       Mobile | +972 (0)58 570 6592
       Tel Aviv | +972 (0)3 744 9191 ext.118
       London | +44 (0)203 150 1300
       ''A fabulous example of Legal driving the
       business, not holding it back!'' Asserson Client
       www.asserson.co.uk | Facebook | LinkedIn

       Asserson Law Offices is regulated by
       The Solicitors Regulation Authority (Number 549779)


       OUR LONDON OFFICE HAS MOVED to:
       Central Court, 25 Southampton Buildings, Holborn, London, WC2A
       WE HAVE MOVED OUR POSTAL AND ADMINISTRATION ADDRESS to:
       Churchill House, 137 – 155 Brent Street, London, NW4 4DJ


       From: Amir Rosenshine <amir.rosenshine@gmail.com>
       Sent: Wednesday, 23 March 2022 14:55
       To: Allison Khaskelis <Allison.Khaskelis@asserson.co.uk>
       Cc: Oren Rosenshine <oren.rosenshine@gmail.com>; Yisrael Hiller
       <Yisrael.Hiller@asserson.co.uk>
       Subject: Re: Rosenshine v A. Meshi Cosmetics Industries, Ltd., et al. No. 18-cv-3572

       To clarify, our request has not changed since we made it. With respect to the documents that
       the mediator proposed for both sides to exchange during the mediation session, we believe it
       would make more sense to proceed with discovery instead.
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 4
                                                              3 of 24
                                                                   23 PageID #: 703
                                                                                543
                                                                                1163


       Please advise whether you intend to comply with the request, otherwise let us know when you
       would be available for a meet and confer ahead of our motion to compel discovery.



       On Wed, Mar 23, 2022 at 8:19 AM Allison Khaskelis <Allison.Khaskelis@asserson.co.uk> wrote:

         Oren and Amir,

         You have served no discovery requests in a proper format on my client as is required by FRCP.
         To the extent that the below email serves as your requests, they are invalid as they were
         served prior to the decision on your motion for leave to amend your Amended Complaint. As
         such, it is unclear what you will be trying to compel. In any event, as you no doubt know, the
         local rules require a meet and confer in advance of any such motion.

         Furthermore, confirm whether you will be providing the documents you committed to provide
         by April 8.

         Regards,
         Allison




         Allison Khaskelis
         Attorney (Admitted in New York, New Jersey and Pennsylvania)




         Mobile | +972 (0)58 570 6592
         Tel Aviv | +972 (0)3 744 9191 ext.118
         London | +44 (0)203 150 1300
         ''A fabulous example of Legal driving the
         business, not holding it back!'' Asserson Client
         www.asserson.co.uk | Facebook | LinkedIn

         Asserson Law Offices is regulated by
         The Solicitors Regulation Authority (Number 549779)


         OUR LONDON OFFICE HAS MOVED to:
         Central Court, 25 Southampton Buildings, Holborn, London, WC2A
         WE HAVE MOVED OUR POSTAL AND ADMINISTRATION ADDRESS to:
         Churchill House, 137 – 155 Brent Street, London, NW4 4DJ


         From: Oren Rosenshine <oren.rosenshine@gmail.com>
         Sent: Wednesday, 23 March 2022 14:11
         To: Amir Rosenshine <amir.rosenshine@gmail.com>
         Cc: Allison Khaskelis <Allison.Khaskelis@asserson.co.uk>; Yisrael Hiller
         <Yisrael.Hiller@asserson.co.uk>
         Subject: Re: Rosenshine v A. Meshi Cosmetics Industries, Ltd., et al. No. 18-cv-3572

         Allison,
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 5
                                                              4 of 24
                                                                   23 PageID #: 704
                                                                                544
                                                                                1164



         We have not received the below-requested information for the discovery. If we do not receive
         the requested information by the end of this week, we will file a motion to compel discovery
         with the court.



         On Mon, Dec 14, 2020 at 3:42 AM Amir Rosenshine <amir.rosenshine@gmail.com> wrote:
           Dear Ms. Khaskelis,

           Attached are our disclosures.

           Please send us all documents and records relating to any and all sales of counterfeit Star
           Gel® ever made by your client, including but not limited to, invoices, agreements,
           recordings, written correspondence such as emails, etc. We are requesting all materials in
           your client's possession relating to all sales of Star Gel® ever made by your client to any
           other party besides us or our predecessors (namely, GMIE and IG).

           Please also provide the ownership structure of A. Meshi, including all shareholders and their
           stakes in the company, directors, and executive managers. In addition, please explain the
           roles of Mr. Yermi Mizrahi, Mr. Shem Tov Mizrahi, and Ms. Nava Mizrahi in the company,
           including positions, titles, and responsibilities. Finally, please identify all individuals at A.
           Meshi, all individuals outside A. Meshi, and all organizations who have been involved in the
           production and sales of Star Gel® to any other party besides us or our predecessors, and
           explain their roles in the Star Gel® counterfeiting supply chain.

           Sincerely,

           Oren Rosenshine, Amir Rosenshine
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 6
                                                              5 of 24
                                                                   23 PageID #: 705
                                                                                545
                                                                                1165




   ASSERSON HILLER P.C.
   Yisrael Hiller
   Allison Khaskelis
   11 Broadway
   New York, NY 10004
   Telephone: +1 (212) 939-7585
   Facsimile: +1 (212) 939-6406

   Counsel to A. Meshi Cosmetics Industries Ltd.

   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

   OREN ROSENSHINE

   AMIR ROSENSHINE,
                                                       Case No. 18-cv-3572
                         Plaintiffs

            -vs-

   A. MESHI COSMETICS INDUSTRIES LTD.,

   A TO Z IMPORTS INC.,

   EYAL NOACH,

                         Defendants.


    FIRST REQUEST FOR PRODUCTION OF DOCUMENTS BY DEFENDANT
     A. MESHI COSMETICS INDUSTRIES LTD. DIRECTED TO PLAINTIFFS
               OREN AND AMIR ROSENSHINE PURSUANT TO
          RULE 34 OF THE FEDERAL RULES OF CIVIL PROCEDURE

  Defendant A. Meshi Cosmetics Industries Ltd. (“Meshi”), by and through its below-captioned

  attorneys, makes the following requests for production of documents to Oren and Amir Rosenshine

  (“Plaintiffs”) in accordance with Rule 34 of the Federal Rules of Civil Procedure. All objections,

  responses, and responsive documents, communications, or electronically stored information shall

  be served and produced on or before April 25, 2022, or such other date to which Meshi agrees or

  as ordered by the Court, at the offices of Asserson Hiller, 11 Broadway, Suite 615, New York, NY


                                                 1
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 7
                                                              6 of 24
                                                                   23 PageID #: 706
                                                                                546
                                                                                1166




  10004 (Attn. Allison Khaskelis) or via electronic delivery. Meshi reserves the right to serve

  supplemental and additional discovery requests.

                                            DEFINITIONS

           1.     The term “all” shall mean “all,” “every,” and “each” as necessary to make

   the request inclusive rather than exclusive.

           2.     The term “any and all” means every document, whenever created, within

   Your possession, custody, or control or the possession, custody, or control of Your

   predecessors in interest (as defined below).

           3.     The term “affiliate” means a person or corporate entity that is related to

   another person or corporate entity, directly or indirectly, by shareholdings, interests, or other

   means of control, including but not limited to subsidiaries, parents, or sibling corporate

   entities.

           4.     The terms “associate,” “associated,” or “association” mean a person or

   corporate entity that has an existing or past relationship with another person or corporate

   entity, including but not limited to direct and indirect relationships as owners, employees,

   officers, agents, colleagues, partners, members, directors, family, corporate family, principals,

   stakeholders, representatives, shareholders, advisors, beneficiaries, lienholders, creditors,

   debtors, customers, and suppliers.

           5.     The term “Complaint” means the Amended Complaint dated March 6, 2019

   that is operative in the above-captioned matter.

           6.     The term “concerning” means relating to, referring to, describing, evidencing,

   or constituting.

           7.     The term “Defendant” means defending or denying; the party against whom



                                                   2
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 8
                                                              7 of 24
                                                                   23 PageID #: 707
                                                                                547
                                                                                1167




   relief or recovery is sought in a civil action or suit; the party who is accused in a criminal suit.

           8.      The term “document(s)” is used in its broadest sense and includes, without

   limitation, any and all writings in any form, notes, memoranda, manuals, reports, agreements,

   contracts, communications (including information transmitted in the form of facts, ideas,

   inquiries, or otherwise), contracts, deeds, memoranda of understanding, invoices, receipts,

   records, correspondence, drawings, graphs, charts (including personnel charts, structure charts,

   or organograms), corporate registries, corporate records, photographs, telephone records,

   payment records, bank statements, data compilations of whatever nature (including those from

   which information can be obtained or translated if necessary), tape recordings, electronic mail

   messages, other electronic messages (including but not limited to WhatsApp, iMessenger, text

   messages, Signal, and Telegram) and electronic data (including any exchange of information

   between computers, tablets or telephones and all information stored in an electronic form or

   computer database). A draft or non-identical copy is a separate document within the meaning

   of this term.

           9.      The terms “identify” and “identity” each mean

                a. When used with reference to a natural person, to state specifically for each

                    person his or her full name, address, and telephone number.

                b. When used with reference to an entity, such as a partnership (either general or

                   limited), joint venture, trust, corporation, or other business entity, to state for each

                   entity the full legal name of the entity, each name under which the entity does

                   business, and the entity’s telephone number.

                c. When used with reference to documents:

                               i. to state and describe specifically for each document, the title




                                                    3
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 9
                                                              8 of 24
                                                                   23 PageID #: 708
                                                                                548
                                                                                1168




                                  or heading, form (e.g., letter, interoffice memorandum, etc.),

                                  date,

                                  preparer or drafter, signer, and addressee, title or the heading, and

                                  approximate number of pages of the document;

                              ii. and identify each custodian and person in possession of the

                                  document, and the present or last known location of the

                                  document.

           10.    The term “interest,” unless otherwise specified, means any past, present,

   prospective, or contingent interest (whether held directly or indirectly through subsidiaries,

   holding structures, and other entities and/or persons), including, without limitation, economic

   interests, financial interests, ownership interests, material interests, beneficial interests,

   licenses, and concessions. For the avoidance of doubt, a partially or jointly-held financial,

   beneficial, or material interest is an interest within the meaning of this term.

           11.    The terms “Plaintiff” or “Plaintiffs” means the party or parties who initiate(s)

   a lawsuit by filing a complaint with the clerk of the court against the defendant(s) demanding

   damages, performance and/or court determination of rights. Reference to the Plaintiff in this

   document shall mean Plaintiffs Oren and Amir Rosenshine collectively.

           11.   The term “predecessor in interest” means any entity or individual that is

  replaced by the Plaintiffs as successors in interest with regard to the Star Gel trademark and

  includes any predecessors of the predecessor, including but not limited to Edna Rosenshine,

  Elazar Rosenshine, International Grooming, Inc., Global Manufacturing Import Export Inc.

  and any alternative name or spelling for these individuals and entities.

           12.    The term “third party” means any individual or entity that is not a Plaintiff



                                                   4
Case
 Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB
       1:18-cv-03572-LDH-LBDocument
                            Document
                            Document99-10
                                     92-7
                                     82-1 Filed
                                          Filed08/30/22
                                                01/26/23
                                                05/10/22 Page
                                                         Page10
                                                              9 of
                                                                 of23
                                                                    24PageID
                                                                      PageID#:
                                                                             #:549
                                                                                709
                                                                                1169




   or Defendant in the above-captioned litigation and includes, but is not limited to, any past,

   present or potential customer of the Plaintiffs and/or their predecessors in interest and any

   manufacturer, producer or distributor of the Star Gel product.

             13.   The term “You” or “Yours” means the Plaintiffs.

                                           INSTRUCTIONS

             1.    Any non-capitalized words, terms, and phrases not specifically defined in

    these document requests shall be given their normal and customary meaning in the context

    in which they are used in these requests.

             2.    Each request for production shall be responded to completely, separately, and

    fully.

             3.    Documents referred to herein are to include all portions or pages of each

    document referred to, and all attachments, enclosures, appendices, and supporting

    documentation, including, without limitation, originals, copies, non-identical copies (that

    may contain handwritten notes, markings, stamps, interlineations, or electronic information),

    drafts, working papers, routing slips, and similar materials.

             4.    A document is deemed in Your actual or constructive possession, custody, or

    control if it is in Your physical custody or the physical custody of Your predecessors in interest,

    or if it is in the physical custody of any other person and You (a) own such document in whole

    or in part; (b) have a right, by control, contract, statute, order, or otherwise, to use, inspect,

    examine, or copy such document on any terms; (c) have an understanding, express or implied,

    that You may use, inspect, examine, or copy such document upon any terms; or (d) have, as a

    practical matter, been able to use, inspect, examine, or copy such document when You sought

    to do so. For the avoidance of doubt, a document is deemed in Your actual or constructive



                                                    5
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 11
                                                              10 of 24
                                                                    23 PageID #: 710
                                                                                 550
                                                                                 1170




    possession, custody, or control if it is accessible on a network or server that You or Your

    predecessors in interest maintain or to which You or Your predecessors in interest have access.

           5.      The specifications of these document requests are to be construed as being

    inclusive rather than exclusive. Thus, words importing the singular include the plural; words

    importing the plural include the singular; words importing one gender includes both genders;

    the words “and” and “or” are to be construed conjunctively or disjunctively as necessary to

    make the document request inclusive; the word “all” means “any and all” and the word “any”

    means “any and all”.

           6.      In producing responsive documents, You should furnish all documents in Your

    possession, custody, or control, regardless of whether such documents are possessed directly

    by You or by Your predecessors in interest, agents, employees, or representatives, including

    Your attorneys or their agents, employees, or representatives.

           7.      You are to produce any and all drafts and copies of each document that is

    responsive to any specification of these document requests and all copies of each such

    document that are not identical in any respect, including but not limited to handwritten notes,

    markings, stamps, interlineations, and electronic information.

           8.      With respect to Electronically Stored Information (“ESI”):

                a. All Microsoft Excel files, PowerPoint files, and/or audio and video files

                   responsive to these document requests that are maintained in the usual course of

                   business in electronic format are to be produced in their native format, along with

                   the software necessary to interpret such files if such software is not readily

                   available. Any native files that are produced shall also be produced with a

                   one-page Bates-numbered TIFF image slip-sheet stating “Document has




                                                  6
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 12
                                                              11 of 24
                                                                    23 PageID #: 711
                                                                                 551
                                                                                 1171




                been produced in native format.”

             b. All other documents responsive to these document requests that are

                maintained in the usual course of business in electronic format are to be

                produced in properly unitized, single-page TIFF Group IV format complete

                with full text extracts and all associated metadata. Documents produced in

                TIFF format shall be produced with Bates numbers stamped on each page.

                Bates numbers shall be of constant length, be sequential across a document

                and its attachments, be unique across the entire production, and contain no

                special characters except dashes. Documents produced in the Group IV

                TIFF format shall be produced such that comments, notes, speaker notes,

                track changes, hidden rows, hidden columns, and any other hidden or

                invisible text are displayed. For good cause, the requesting party may

                request that documents originally produced in TIFF format be re-produced

                in native format, which request shall not unreasonably be denied. The

                requesting party shall identify documents for re-production by Bates number

                and provide an explanation of the need for native files.

             c. All documents responsive to these document requests are to be produced

                with the metadata contained in Appendix A. If such metadata is not

                available, each document is to be accompanied by a listing of all file

                properties relating to such document, including, but not limited to, all

                information relating to the date(s) the document was last accessed, created,

                modified, or distributed, and the author(s) and recipient(s) of the document.

             d. Under no circumstances should ESI be converted from the form in which it




                                                7
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 13
                                                              12 of 24
                                                                    23 PageID #: 712
                                                                                 552
                                                                                 1172




                    is ordinarily maintained to a different form that makes it more difficult or

                    burdensome to use. ESI should not be produced in a form that removes or

                    significantly degrades the ability to search the ESI by electronic means

                    where the ESI is ordinarily maintained in a way that makes it searchable by

                    electronic means. Databases or underlying data should not be produced

                    without first discussing production format issues with Meshi’s counsel. If

                    You decline to search or produce ESI on the ground that such ESI is not

                    reasonably accessible because of undue burden or cost, identify such

                    information by category or source and provide detailed information

                    regarding the burden of cost You claim is associated with the search or

                    production of such ESI.

           9.       All documents that are physically attached to each other when located for

    production are to be left so attached when produced. Documents that are segregated or separated

    from other documents, whether by inclusion in binders, files, subfiles, or by use of dividers,

    tabs, or any other method, are to be left so segregated or separated when produced. Documents

    are to be produced in the order in which they were maintained and in the files in which they

    were found.

           10.      Where a claim of privilege is asserted in objecting to any document request,

    identify the nature of the privilege (including work product) that is being claimed and the

    privilege rule being invoked, and for each document withheld provide the following

    information:

                 a. the type of document;

                 b. the date of the document;




                                                   8
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 14
                                                              13 of 24
                                                                    23 PageID #: 713
                                                                                 553
                                                                                 1173




                 c. the author(s), addressee(s), and recipient(s) of the document, and, where not

                    apparent, the relationship of the author(s), addressee(s), and recipient(s) to one

                    another;

                 d. the number of pages;

                 e. the identity of any enclosure(s) or attachment(s);

                 f. the subject matter of the document

                 g. the basis of the privilege claim; and

                 h. the type of privilege(s) asserted.

           11.      The documents responsive to these requests are to be produced as they were kept

    in the ordinary course of business and are to be labeled in such a way as to show which files

    they came from.

           12.      If any document, or any part of a document, called for by these document

    requests has been destroyed, discarded, lost, or otherwise disposed of or placed beyond Your

    custody or control, You are to furnish a list identifying each such document by: (i) date, (ii)

    author; recipient(s); (iv) type of document (e.g., letter, memorandum, chart, e-mail, etc.); (v)

    general subject matter; (vi) the document’s present or last-known location or custodian; (vii)

    the date of the document’s destruction or other disposition; (viii) the reason for such

    destruction or other disposition; and (ix) the person authorizing such destruction or other

    disposition.

           13.      Each specification of these document requests requires production in full,

    without abbreviation, redaction, or expurgation of any responsive documents. If any responsive

    document is not or cannot be produced in full, produce it to the extent possible, indicating which

    document, or portion of that document is being withheld, and the reason(s) it is being withheld.



                                                     9
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 15
                                                              14 of 24
                                                                    23 PageID #: 714
                                                                                 554
                                                                                 1174




    Any redactions applied to documents shall contain text indicating the basis for redaction (e.g.,

    “Privileged”).

           14.       Documents not otherwise responsive to specifications of these document

    requests are to be produced if such documents mention, discuss, refer to, or explain the

    documents which are responsive to these document requests, or if such documents are attached

    to documents responsive to these document requests and constitute routing slips, transmittal

    memoranda, or letters, comments, evaluations, or similar materials.

           15.       If, in responding to these document requests, You encounter any ambiguity in

    construing them or any definitions and instructions relevant to them, set forth the matter or

    term deemed “ambiguous” and the construction used in responding to the document requests.

                                  DOCUMENTS TO BE PRODUCED

           1.        All documents, including but not limited to any internal communications,

    communications with third parties, invoices and receipts, that demonstrate all sales of Star

    Gel by You and/or Your predecessors in interest between January 1, 2012 and today’s date

    and specify the dates, quantities and amounts of such sales.

           2.        All documents that list the names and contact information of any third party

    to which You and/or Your predecessors in interest sold Star Gel between January 1, 2012

    and today’s date.

           3.        All documents, including but not limited to any internal communications,

    communications with third parties and advertising materials, that demonstrate efforts by You

    and/or Your predecessors in interest to sell Star Gel to any third party between January 1, 2012

    and today’s date.

           4.        All documents, including but not limited to any communications with third


                                                    10
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 16
                                                              15 of 24
                                                                    23 PageID #: 715
                                                                                 555
                                                                                 1175




    parties, that demonstrate the unwillingness of any third party to purchase Star Gel from

    You and/or Your predecessors in interest between January 1, 2012 and today’s date as a

    result of Meshi’s conduct as outlined in the Complaint.

           5.      All accounting and bookkeeping records that demonstrate the revenue,

    profits and expenses that accrued to You and/or Your predecessors in interest from the

    purchases of Star Gel by You and/or Your predecessors in interest from any manufacturer,

    producer or distributor and the onward sales of Star Gel by You and/or Your predecessors

    in interest to any third party between November 1, 2004 and today’s date.

           6.      All documents, including but not limited to any internal communications,

    communications with third parties, invoices, and receipts, that demonstrate the orders that

    You and/or Your predecessors in interest placed and/or contracts that You and/or

    predecessors in interest executed to purchase Star Gel product from any manufacturer,

    producer or distributor between January 1, 2012 and today’s date.

           7.      All documents that list the name and contact information for any

    manufacturer, producer or distributor of Star Gel from which You and/or Your predecessors

    in interest purchased any Star Gel between January 1, 2012 and today’s date.

           8.      All documents, including but not limited to internal communications and

    communications with third parties, that demonstrate the loss of goodwill and reputational

    damage that You and/or Your predecessors in interest allegedly suffered between January 1,

    2012 and today’s date as a result of Meshi’s conduct, as referenced, for example, in paragraph

    97 of the Complaint.

           9.      All documents demonstrating that the M.S.R.P of Star Gel has been $40 per

    unit between November 1, 2004 and today’s date.



                                                  11
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 17
                                                              16 of 24
                                                                    23 PageID #: 716
                                                                                 556
                                                                                 1176




           10.      All documents demonstrating that You and/or Your predecessors in interest

    were receiving $40 for each unit of Star Gel that You and/or Your predecessors in interest sold

    between November 1, 2004 and today’s date.

           11.      All documents, including but not limited to any communications with third

    parties, that demonstrate customer confusion or mistake with regard to Star Gel between

    January 1, 2012 and today’s date, as referenced, for example, in paragraph 54 of the

    Complaint, that resulted from Meshi’s conduct.

           12.      All communications regarding Star Gel between You and/or Your predecessors

    in interest and A to Z Imports Inc. or Eyal Noach between November 1, 2004 and today’s date.

           13.      All internal communication, including any communication with Your

    predecessors in interest, with regard to any of the allegations in the Complaint between the

    date You or Your predecessors in interest discovered the alleged unlawful conduct by the

    Defendants and the commencement of the above-captioned legal proceedings.

           14.      All communications between You and/or Your predecessors in interest and any

    third parties with regard to any of the allegations in the Complaint between the date You or

    Your predecessors in interest discovered the alleged unlawful conduct by the Defendants and

    today’s date.

           15.      All communications between You and/or Your predecessors in interest with

    any representative of Meshi between September 1, 2004 and today’s date.

           16.      All documents, including accounting records, receipts, and bank statements, that

    demonstrate that You and/or Your predecessors in interest paid all amounts owed to Meshi for

    the purchases of Star Gel from Meshi between November 1, 2004 and today’s date.

           17.      All documents that demonstrate that Meshi has continued to engage in any




                                                   12
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 18
                                                              17 of 24
                                                                    23 PageID #: 717
                                                                                 557
                                                                                 1177




    conduct outlined in the Complaint between January 1, 2017 and today’s date.

           18.     All documents that demonstrate that You and/or Your predecessors in interest

    used the Star Gel trademark between January 1, 2013 and June 20, 2017.

           19.     All documents that demonstrate the loss, harm or damages that You and/or

    Your predecessors in interest suffered as a result of Meshi’s conduct between January 1,

    2012 and today’s date, including but not limited to the calculations of such loss, harm or

    damages and any supporting evidence used in arriving at any calculations of such loss,

    harm or damages.

           20.     All documents that support any of the allegations made in the Complaint.




      Dated: March 24, 2022
            New York, New York

                                            ASSERSON HILLER P.C.



                                             /s/ Allison Khaskelis
                                            Allison Khaskelis
                                            Yisrael Hiller
                                            11 Broadway
                                            New York, NY 10004
                                            Telephone: +1 (212) 939-7585
                                            Facsimile: +1 (212) 939-6406

                                            Counsel to A. Meshi Cosmetics Industries Ltd.




                                                  13
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 19
                                                              18 of 24
                                                                    23 PageID #: 718
                                                                                 558
                                                                                 1178




                                    APPENDIX A
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 20
                                                              19 of 24
                                                                    23 PageID #: 719
                                                                                 559
                                                                                 1179




    Metadata Field        Description                                 Examples

    Production Metadata Fields for All Documents

    Beg Bates             Bates number for the first page of          [Bates Prefix]-00000001

                          the document

    Endplates             Bates number for the last page of           [Bates Prefix]-00000010

                          the document

    BegBatesAtt           Bates number for the first page of the      [Bates Prefix]-00000001

                          parent document (i.e., an email or other

                          document containing attachments)

    EndBatesAtt           Bates number of the last page of the        [Bates Prefix]-00000015

                          last attachment to the parent

                          document

    Custodians_All        Name of the custodian or custodians who     Jones, Barbara

                          possessed this item or exact duplicates

                          thereof.

    RecordType            Type of item being produced                 Email, Email

                                                                      Attachment, Electronic

                                                                      Document, Hardcopy

                                                                      Document

    FilePath              Original location of the file when          C:\My

                          collected from the source custodian or      Documents\Deal

                          system                                      Documents

    FileSize              Size of the native file document/email in   3,547

                          KB
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 21
                                                              20 of 24
                                                                    23 PageID #: 720
                                                                                 560
                                                                                 1180




    Prod_Native          File path to the native file on the        Prefix001\NATIVES\0

                         production media if applicable (a.k.a.     00\

                         production file path)                      Prefix00000001.msg

    Prod_Text            File path to the extracted text file on    Prefix001\TEXT\00

                         the production media                       0\

                                                                    Prefix00000001.ms

                                                                    g

    MD5Hash              The MD5 hash value for the item

    SHA1Hash             The SHA-1 hash value for the item

    Designation          The confidentiality designation of         Confidential,

                         the document, if any                       Highly

                                                                    Confidential

    Redaction            For documents containing redactions, the   Privileged,

                         basis for such redactions                  Personal,

                                                                    Proprietary

    Additional Document Metadata Fields for Electronic Documents and Attachments

    FileName             Original name of the file when collected   exampledoc.doc, file.xls

                         from the source custodian or system

    FileExt              File type extension of native file         xls, doc, ppt, mp3

    FileType             File type or application used to create    Excel, Word,

                         the underlying native file                 PowerPoint, MP3

    Title                Title of the document                      Purchase Agreement

    Author               Author of the document                     Barbara Jones

    TimeZone             The time zone in which electronic          GMT
Case
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
                            Document99-10
                                     82-1 Filed 08/30/22
                                     92-7       05/10/22
                                                01/26/23 Page 22
                                                              21 of 24
                                                                    23 PageID #: 721
                                                                                 561
                                                                                 1181




                        documents were standardized during

                        conversion.

    MasterDate          For emails and their attachments, the sent   MM/DD/YYYY

                        date of the parent email
Case    Metadata Field
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LBDescription
                           Document
                            Document99-10
                                      82-1 Filed 08/30/22
                                      92-7       05/10/22   Examples
                                                 01/26/23 Page 22 of 24
                                                               23    23 PageID #: 722
                                                                                  562
                                                                                  1182

       MasterTime           For emails and their attachments, the sent   HH:MM:SS

                            time of the parent email, using a 24-hour

                            clock

       DateCreated          Date the item was created                    MM/DD/YYYY

       TimeCreated          Time the item was created, using a 24-       HH:MM:SS

                            hour clock

       DateLastModified     Date the item was last modified              MM/DD/YYYY

       TimeLastModified     Time the item was last modified, using a     HH:MM:SS

                            24- hour clock

       Additional Document Metadata Fields for Email and Other Electronic Communications

       DateSent             Date the email message was sent, using a     MM/DD/YYYY

                            24- hour clock

       TimeSent             Time the email message was sent, using a     HH:MM:SS

                            24- hour clock

       Date Received        Date the email message was received,         MM/DD/YYYY

                            using a 24-hour clock, in Greenwich

                            Mean Time (GMT)

       TimeReceived         Time the email message was received,         HH:MM:SS

                            using a 24-hour clock

       To                   Addressee(s) of the email message            Barbara Jones

                                                                         barbarajones@co.co

                                                                         m

       From                 Name and email address of the person         Barbara Jones

                            who sent the email message                   barbarajones@co.co

                                                                         m
Case    CC
 Case1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LBRecipient(s)
                           Document
                            Document   included
                                         82-1 inFiled
                                        99-10
                                         92-7    the “cc” line of Page
                                                      05/10/22
                                                      08/30/22
                                                      01/26/23      Barbara
                                                                       23 ofJones
                                                                       24    23 PageID #: 723
                                                                             24           563
                                                                                          1183

                             the email message                            barbarajones@co.co

                                                                          m

        BCC                  Recipient(s) included in the “bcc” line of   Barbara Jones

                             the email message                            barbarajones@co.co

                                                                          m

        Subject              Subject line of the email message            FW: your message

        EmailPath            The original location of email               Personal

                                                                          Folders\Sent Items\

        Conversation Index   A field indicating whether an email

                             message is part of a conversation thread

                             with other email messages.
